CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 1 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 2 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 3 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 4 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 5 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 6 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 7 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 8 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 9 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 10 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 11 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 12 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 13 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 14 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 15 of 16
CASE 0:21-cv-00207-ECT-LIB Doc. 1 Filed 01/28/21 Page 16 of 16
